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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                       PENSACOLA DIVISION

UNITED STATES OF AMERICA,

v.                                             Case No. 3:00cr48/LC/CJK
                                                        3:09cv129/LC/CJK
JERROLD L. GUNN,
    Defendant.


                     REPORT AND RECOMMENDATION
       This matter is before the court upon defendant’s motion to vacate, set aside, or
correct sentence pursuant to 28 U.S.C. § 2255 (doc. 1718). The matter is referred to
the undersigned magistrate judge for report and recommendation pursuant to 28
U.S.C. § 636 and N.D. Fla. Loc. R. 72.2(B). Having conducted a careful review of
the record and the arguments presented, the undersigned concludes that the motion
should be denied.
                 FACTUAL & PROCEDURAL BACKGROUND
       The defendant, Jerrold L. Gunn, was charged with conspiring to commit wire
and securities fraud, in violation of 18 U.S.C. § 371, and conspiring to commit money
laundering, in violation of 18 U.S.C. § 1956(h) (docs. 966, 1662). Defendant was
also charged with violating 18 U.S.C. § 1957, or conspiring to engage in monetary
transactions that the defendant knew involved criminally derived property, where the
property had a value greater than $10,000, and where the property was derived from
wire fraud (docs. 966, 1644, 1645, 1662).
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        Defendant’s conviction stems from his apparent involvement in a complex
high-yield trading scheme known as the Hammersmith program. See United States
v. McCrimmon, 362 F.3d 725, 727 (11th Cir. 2004). Hammersmith, created by David
Gilliland, appeared to be an exclusive investor’s club designed to yield high returns
for those individuals who invested the minimum amount. See id. In late 1997,
Gilliland opened a Hammersmith investment “branch,” known as Bridgeport
Alliance, in Bluewater Bay, Florida. See id. Bridgeport served as an administrative
office for Hammersmith, but its staff also marketed the program to prospective
investors under the pretense that they could buy into the scheme for a mere $250,000.
See id.
        “The key selling point of the Hammersmith program was the apparent
‘security’ of the investment, as it was supposedly collateralized in a U.S. Treasury
Bill.” Id. Hammersmith represented to investors that the Treasury Bill, once
purchased, “would be leveraged in investments such as the European currency market
to generate high returns for little risk.” Id. In actuality, Hammersmith was not an
investment program, but rather a Ponzi scheme in which investors’ principle was
laundered through various bank accounts, paid out to other investors as interest
payments, and “ultimately accumulated in the pockets of Gilliland and his crew.” See
id. at 728. All told, the Hammersmith co-conspirators persuaded investors from
across the United States to part with more than $60 million before the program
collapsed in early 1999. See id. The perpetrators retained approximately $27 million
in criminal profits (doc. 1616).
        Defendant’s involvement in the enterprise was that of a contract drafter,
compliance officer, and general legal advisor. Bridgeport recruited and screened


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potential investors to fund the trading program. Once an individual or entity engaged
in the program as an investor and/or agent, William H. West and Kenneth B. Cobb,
both co-conspirators in the investment scheme, facilitated the execution of a number
of documents on behalf of Bridgeport. These documents, drafted largely by Mr.
Gunn, included Bridgeport client agreements, Hammersmith Trust loan agreements,
and declarations of trust, all of which obligated the program managers to invest the
funds in legitimate trading programs. Defendant ultimately wrote and approved a
vast majority of the financial contracts for the putative investment program, and also
created the various safety net tools utilized to assure investors that the program was
secure.
        A large portion of the invested funds went into multiple bank accounts and
from there to co-conspirators. The trading program was furthered by the purchase of
one bank in particular, American Pacific Bank and Trust, Inc. (AMPAC), which was
created in part by David M. Bishara to assist in the scheme’s movement of investor
funds offshore. In fact, AMPAC was merely an account at the Bank of Bermuda,
which the co-conspirators used to disburse much of the investors’ monies to other
countries. According to IRS special agent Tracy Preisser, defendant was instrumental
in helping Bishara to acquire the AMPAC charter and organizing the offshore account
(doc. 1616, pp. 8-9, 14).
        Defendant, a citizen of Canada, was indicted on June 21, 2000 (doc. 1), and
arrested on an extradition warrant on July 31, 2003 (doc. 1616). Defendant was
released on bond in Canada and contested his extradition to the United States through
July 19, 2007, when defendant waived a final appeal to the Supreme Court of Canada
of an adverse extradition decision and surrendered to Canadian authorities (doc.


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1616). This court conducted an initial appearance hearing on August 31, 2007
(doc.1596), and set the case for trial on November 5, 2007 (doc. 1603).
        At a detention hearing on September 6, 2007, defendant testified that in 2000
he learned of the indictment against him, but that he did not waive extradition to the
United States to answer the charges (doc. 1616). Defendant explained that he did not
waive extradition because his mother-in-law, who passed away in December 2000,
was dying at the time (doc. 1616). After his mother-in-law’s death, however,
defendant continued to contest his extradition. He provided three reasons for the
continued fight: (1) his wife was emotionally distraught over her mother’s death, (2)
his wife had leukemia, and (3) his brother-in-law was contesting the mother-in-law’s
will (doc. 1616). Defendant ultimately acquiesced in extradition in 2007, asserting
he then believed his wife’s health had improved (doc. 1616).
        The government argued, inter alia, that defendant’s considerable efforts
fighting extradition warranted an order of detention pending trial (doc. 1616).
Defense counsel responded, “There is nothing that I know of that’s illegal about
fighting extradition, you know, I would certainly, as I think any competent attorney
would do, advise him to do so” (doc. 1616). Defense counsel also moved for a
continuance, asserting that he would require additional time to review the extensive
discovery provided and made available to defendant in this case (doc. 1616).
Defendant again moved for a continuance on October 17, 2007, arguing the same
grounds (doc. 1607). The District Court granted the motion to continue and set trial
for January 7, 2008 (doc. 1610). Defendant filed speedy trial waivers on October 17
and 25, 2007, each signed by both defendant and his attorney, E. Brian Lang (docs.
1608-09).


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        A jury convicted defendant of conspiring to commit wire and securities fraud
(count I), conspiring to commit money laundering and engaging in prohibited
monetary transactions from criminally derived property (count II) (doc. 1662). The
District Court sentenced defendant to 60 months in prison as to count I and 91 months
in prison as to count II, the terms to run consecutively (doc. 1662). Defendant
appealed the District Court’s judgment and sentence, but then filed a motion to
dismiss his appeal, which the Court of Appeals granted (docs. 1664, 1674).
        In the present petition filed pursuant to 28 U.S.C. § 2255, defendant alleges
three grounds he believes require that his conviction and sentence be vacated or
modified. Defendant asserts (1) the evidence was insufficient to establish he
conspired to launder criminal proceeds; (2) the sentence should have been calculated
only in consideration of the profits derived from the criminal scheme; and (3) that
defense counsel was ineffective for failing to allege a violation of defendant’s speedy
trial rights (doc. 1718). Defendant requests that the convictions be vacated or, in the
alternative, that the conviction for money laundering be set aside or, in the alternative,
that the sentence for money laundering be adjusted downwards (doc. 1718).
                                      ANALYSIS
        As a preliminary matter, the undersigned notes certain general rules applicable
in section 2255 proceedings following direct appeals, as well as the distinction
between review under section 2255 and direct appeal. “Generally speaking, an
available challenge to a criminal conviction or sentence must be advanced on direct
appeal or else it will be considered procedurally barred in a § 2255 proceeding.”
Mills v. United States, 36 F.3d 1052, 1055 (11th Cir. 1994). “A ground of error is
usually ‘available’ on direct appeal when its merits can be reviewed without further


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factual development.” Id. “A claim not raised on direct appeal is procedurally
defaulted unless the petitioner can establish cause and prejudice for his failure to
assert his claims on direct appeal.” McCoy v. United States, 266 F.3d 1245, 1258
(11th Cir. 2001). “Further, a § 2255 movant cannot argue as the causal basis for his
failure to advance an argument on direct appeal that the argument only became
known to the movant due to subsequent developments in the law.” Castro v. United
States, 248 F. Supp. 2d 1170, 1174 (S.D. Fla. 2003) (citing McCoy, 266 F.3d at
1258).
        Regarding the important difference between a section 2255 collateral challenge
and direct review, “[i]t has long been settled law that an error that may justify reversal
on direct appeal will not necessarily support a collateral attack on a final judgment.”
United States v. Addonizio, 442 U.S. 178, 184 (1979). Relief should be granted only
if the challenged sentence resulted from “a fundamental defect which inherently
results in a complete miscarriage of justice, [or] an omission inconsistent with the
rudimentary demands of fair procedure.” See Hill v. United States, 368 U.S. 424, 428
(1962).
        Defendant argues first that his conviction for conspiring to launder money must
be vacated in light of United States v. Santos, a case defendant believes holds that
transactions involving the payment of expenses connected with criminal activity–as
opposed to profits–do not violate federal money laundering statutes. See 553 U.S.
507, 509-14 (2008). Defendant contends that the government failed to present
evidence that he laundered criminal profits, but instead proved only that he received
fees for services provided in furtherance of the criminal activity.



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        Gunn simply misreads the holding of Santos, which is especially restrictive in
scope. “The narrow holding in Santos, at most, was that the gross receipts of an
unlicensed gambling operation were not ‘proceeds’ under section 1956 . . . .” United
States v. Demarest, 570 F.3d 1232, 1242 (11th Cir. 2009). Similarly, in King v.
Keller, the Eleventh Circuit held that Santos did not apply where the defendant’s
“money laundering convictions were based on his participation in ‘a cash rental
‘ponzi scheme’ and a related treasury bill leasing program.’” See 372 F. App’x 70,
73 (11th Cir. 2010). One finds no paucity of other cases that have rejected the
application of the Santos profits test to money laundering offenses stemming from
crimes other than gambling. See, e.g., United States v. Jennings, 599 F.3d 1241,
1252 (11th Cir. 2010) (rejecting defendant’s claim that, because the government
failed to prove money at issue was profits of illegal activity, he could not be
convicted of money laundering in connection with fraud and conspiracy convictions
arising from scheme to sell fraudulent workers’ compensation insurance); Mignott v.
United States, Nos. 09-60805-CIV, 04-60186-CR-UNGARO, 2010 WL 2035105, at
*8 (S.D. Fla. May 3, 2010) (denying relief “because the limited holding in Santos
does not apply to Mignott’s conviction for conspiring to launder money which is the
proceeds of Medicare fraud”); United States v. Morris, No. 6:09-16-S-DCR, 2010
WL 1049936 (E.D. Ky. Mar. 19, 2010) (holding Santos inapplicable where the
predicate offenses were bribery and extortion); United States v. Poulin, 690 F. Supp.
2d 415 (E.D. Va. 2010) (holding that Santos does not apply to health care fraud
offenses); Arnaiz v. Hickey, No. CV208-97, 2009 WL 2971638, *3 (S.D. Ga. Sept.
16, 2009) (limiting Santos to gambling cases and declining to apply profits test where
the offense involves laundering of receipts of Medicare fraud); United States v.


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Prince, 627 F. Supp. 2d 863, 868-72 (W.D. Tenn. 2008) (limiting Santos to gambling
cases and declining to apply profits test where the offense involves laundering of
receipts of health care fraud). Because defendant is not accused of laundering gross
receipts derived from an unlicensed gambling operation, Santos is unavailing in this
instance. See Demarest, 570 F.3d at 1242.
        Assuming that the foregoing cases are just wrong and Santos might be read
more generally to hold that the gross receipts of any criminal activity are not
“proceeds” under section 1956, the result does not change. Section 1956 prohibits
the use of the proceeds of criminal activities for various purposes, including engaging
in, and conspiring to engage in, transactions intended to promote the carrying on of
unlawful activity:
        Whoever, knowing that the property involved in a financial transaction
        represents the proceeds of some form of unlawful activity, conducts or
        attempts to conduct such a financial transaction which in fact involves
        the proceeds of specified unlawful activity . . . with the intent to promote
        the carrying on of specified unlawful activity . . . shall be sentenced to
        a fine of not more than $500,000 or twice the value of the property
        involved in the transaction, whichever is greater, or imprisonment for
        not more than twenty years, or both.
18 U.S.C. § 1956(a)(1)(A)(I). Even under this more generalized reading, Santos will
not aid Mr. Gunn. Here, the government presented substantial evidence that
defendant lent his assistance to a Ponzi scheme by helping to establish a bank account
into which profits from the scheme were deposited and disbursed overseas (doc.
1616, pp. 10, 14).
        Assuming further that Santos could be properly applied to support relief, I find
that defendant failed to raise the Santos claims on direct appeal. As a result, the
claims are now procedurally barred. See United States v. Nyhuis, 211 F.3d 1340,

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1343-44 (11th Cir. 2000) (requiring defendant seeking to raise issue on motion for
collateral relief to show “cause excusing his failure to raise the issue previously and
actual prejudice resulting from the alleged error”); Greene v. United States, 880 F.2d
1299, 1305 (11th Cir. 1989) (requiring that “a defendant . . . assert an available
challenge to a sentence on direct appeal or be barred from raising the challenge in a
section 2255 proceeding”). Mr. Gunn’s argument would have this court treat his
habeas petition as a substitute for, or the equivalent of, a direct appeal. Such is
clearly not a permissible use of a section 2255 petition. See Larson v. United States,
275 F.2d 673, 677 (5th Cir. 1960) (“‘It is elementary that neither habeas corpus nor
motion in the nature of application for writ of error coram nobis can be availed of in
lieu of writ of error or appeal, to correct errors committed in the course of a trial, even
though such errors relate to constitutional rights.’” (quoting Howell v. United States,
172 F.2d 213, 215 (4th Cir. 1949))).1
        Defendant argues next that his sentence should have been calculated only in
consideration of the profits derived from the criminal scheme. Defendant theorizes
that after Santos, enhancements to a sentence based on the total amount of money
transactions conducted by the principal defendant must be vacated. As already
explained, defendant has failed to establish the applicability of the Santos holding to
this case. Even ignoring the clear precedent laid down by the cases explaining and
limiting the applicability of Santos, I would not conclude that Santos provides
defendant an engine for relief on this argument, where the government charged


        In Bonner v. City of Prichard, Alabama, 661 F.2d 1206, 1209 (11th Cir.
        1


1981) (en banc), the Eleventh Circuit adopted as binding precedent all decisions of
the former Fifth Circuit handed down prior to close of business on September 30,
1981.
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defendant with violating 18 U.S.C. § 1957 (doc. 766). Section 1957(a) makes it a
criminal offense to “knowingly engage[] or attempt[] to engage in a monetary
transaction in criminally derived property of a value greater than $10,000 and [which]
is derived from specified unlawful activity . . . .” The Santos holding regards section
1956, which requires the government to establish that the defendant used the
“proceeds” of unlawful activity to promote the carrying out of the activity. Section
1957, on the other hand, has no similar element. As a result, Santos would not have
prevented the sentencing court from taking into account gross receipts generated by
the criminal activity.
        For his final point, defendant contends that defense counsel was ineffective for
failing to allege a speedy trial right violation . (doc. 1718). “A convicted defendant’s
claim that counsel’s assistance was so defective as to require reversal of a conviction
or death sentence has two components.” Strickland v. Washington, 466 U.S. 668, 687
(1984). “First, the defendant must show that counsel’s performance was deficient[,]”
which “requires showing that counsel made errors so serious that counsel was not
functioning as the ‘counsel’ guaranteed the defendant by the Sixth Amendment.” Id.
“Second, the defendant must show that the deficient performance prejudiced the
defense[,]” which “requires showing that counsel’s errors were so serious as to
deprive the defendant of a fair trial, a trial whose result is reliable.” Id.
        Constitutional speedy trial challenges are subject to a four-factor test. See
Barker v. Wingo, 407 U.S. 514, 530 (1972) (denying relief to habeas corpus petitioner
raising speedy trial grounds). The four factors are “[l]ength of delay, the reason for
the delay, the defendant’s assertion of his right, and prejudice to the defendant.” Id.
“The length of the delay is to some extent a triggering mechanism.” Id. “Until there


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is some delay which is presumptively prejudicial, there is no necessity for inquiry into
the other factors that go into the balance.” Id. “Depending on the nature of the
charges, the lower courts have generally found postaccusation delay ‘presumptively
prejudicial’ at least as it approaches one year.” Doggett v. United States, 505 U.S.
647, 652 n.1 (1992) (applying Barker criteria to defendant’s claim on appeal).
        The speedy trial clock begins to run when an individual is indicted or arrested
and made to answer to a criminal charge. See Dillingham v. United States, 423 U.S.
64, 65 (1975) (“[I]t is either a formal indictment or information or else the actual
restraints imposed by arrest and holding to answer a criminal charge that engage the
particular protections of the speedy trial provision of the Sixth Amendment.”); United
States v. Reme, 738 F.2d 1156, 1162 (11 Cir. 1984) (“The protections of the Sixth
Amendment are activated ‘only when a criminal prosecution has begun and extends
only to those persons who have been ‘accused’ in the course of that prosecution.’”
(quoting United States v. Marion, 404 U.S. 307, 313 (1971))).
        Here, the government indicted Gunn in June 2000, but did not attempt to
extradite him from Canada until July 2003 (docs. 1, 1616). Defendant, having
satisfied the first of the speedy trial considerations articulated by the Supreme Court,
“retains the burden of proving the remaining factors under Barker.” United States v.
Clark, 83 F.3d 1350, 1352 (11th Cir. 1996) (reviewing government’s appeal of
district court’s dismissal of federal indictment returned against defendant). The
second Barker factor requires the court to examine the government’s reason for the
delay. See 407 U.S. at 530. Between the time of defendant’s indictment and the
government’s first attempts at extradition, the government forewent Gunn’s
prosecution, opting to advance charges leveled against co-conspirators involved in


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the scheme. The undersigned agrees with the government, however, that the
government’s election was not the sole cause of delay in this case. Gunn testified that
he contested his extradition from Canada for a variety of personal reasons, including
multiple family illnesses (doc. 1616). Far from vigorously pursuing a speedy hearing,
defendant, indicted in 2000, did not waive extradition to the United States until 2007
(doc. 1616). In other words, the delay in defendant’s trial cannot be attributed to
prosecutorial negligence or bad faith alone.
        The third factor of the Barker balancing test weighs the defendant’s assertion
of the right to speedy trial. See 407 U.S. at 530. Here, defendant did not assert the
right at all, opting instead, as his litigation strategy, to challenge extradition from
Canada. Defendant, once in custody in the United States, filed speedy trial waivers
in October 2007, and then moved to continue the trial to allow defense counsel
additional time to review the considerable volume of discovery provided in
connection with this matter (docs. 1607-10, 1616). Mr. Gunn not only refrained from
asserting any right to speedy trial, but actively waived the right and subsequently
delayed prosecution further by his own motion. The government may not be charged
with such delay. See United States v. Hill, 622 F.2d 900, 909 (5th Cir. 1980) (“Any
prolongation attributable to conduct by the accused is excused.”).
        The final Barker factor examines prejudice to the defendant. See 407 U.S. at
530. Prejudice can be established in three ways: (1) oppressive pretrial incarceration;
(2) anxiety and concern caused to the accused; and (3) the possibility that the
accused’s defense will be impaired. See Clark, 83 F.3d at 1354. Only the third form
of prejudice is implicated here, as defendant was not incarcerated during the delay in
prosecution and does not allege anxiety or concern. Rather, defendant contends


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generally that “the failure of the Government to proceed expeditiously caused severe
prejudice to the Petitioner and the Petitioner suffered as a result” (doc. 1718).
Defendant, citing the testimony of multiple witnesses at trial, argues further that but
for the pretrial delay “the memory of witnesses would not have failed and a more
truthful case would have been put to the jury” (doc. 1720).
        Though acknowledging the most serious prejudice is the third form, the
possibility that the accused’s defense will be impaired, see Hill, 622 F.2d at 910, the
courts of this circuit have “consistently held that conclusory allegations of prejudice,
including unsubstantiated allegations of witness’s faded memories, are insufficient
to constitute proof of actual prejudice.” See, e.g., United States v. Hayes, 40 F.3d
362, 366 (11th Cir. 1994). Here, defendant contends that the faulty memories of
various co-conspirators prejudiced his defense. Specifically, defendant alleges that
Gilliland, the main co-defendant, admitted that his memory had been compromised
by the passage of years (doc. 1720). In reviewing the transcript of defendant’s trial,
the undersigned notes that Gilliland simply conceded to having less-than-perfect
memory regarding some of the events underlying the Ponzi scheme for which
defendant was on trial. When, for example, Gilliland could not say with certainty
whether defendant had been present at a January 24, 1997, meeting between Gilliland
and Frank Scott, defense counsel asked, “Then your memory is not that good about
things that happened almost 10 years ago, correct?” Gilliland responded, “On some
of them. On some of them, it’s better” (doc. 1712, p. 915).
        Defendant makes similar allegations regarding the testimonies of co-defendant
Cobb and Scott, a witness for the government (doc. 1720). The transcript, however,
reveals that neither witness testified to an impaired memory regarding a material fact


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in issue. Cobb, for instance, when presented with a letter in which defendant rejected
a prospective client’s investment application, responded that he could not remember
whether any additional such documents existed (doc. 1709). The witness’ powers of
recall notwithstanding, the undersigned finds the relation between defendant’s
allegations of impaired memory and the material facts in issue too tenuous to be
recognized as a source of prejudice. See United States v. Dennard, 722 F.2d 1510,
1513-14 (11th Cir. 1984) (“[W]here . . . appellants allege no more than the general
inability to recall a transaction with desired specificity that occurs in any trial
regardless of delay, and where such faded memories do not appear substantially to
relate to any material fact in issue, no actual impairment of their defense for purposes
of a speedy trial challenge is shown.” (quoting United States v. Avalos, 541 F.2d
1100, 1116 (5th Cir. 1976))). One of the very purposes of cross-examination being
to expose the fallibility of memory, defendant must show more than the sort of
ordinary forgetfulness that would have attended his trial had he been prosecuted in
strict accordance with speedy trial procedures. See, e.g., Davis v. Alaska, 415 U.S.
308, 316 (1974) (observing that cross-examination serves to reveal a witness’s
perceptions and memory); United States v. Williams, 592 F.2d 1277 (11th Cir. 1979)
(stressing “the importance of the right of cross-examination to delve into a witness’
story, to test the witness’ perceptions and memory and also to impeach the witness”).
        Defendant’s motion and supporting memorandum consist primarily of
conclusory allegations of prejudice, which, as explained, do not establish that
defendant suffered actual prejudice from the pretrial delay in prosecution. See Hayes,
40 F.3d at 366. As no one Barker factor predominates, the factors must be balanced
against one another in the context of surrounding circumstances. See Dennard, 722


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F.2d at 1512-13 (“We regard none of the four factors . . . as either a necessary or
sufficient condition to the finding of a deprivation of the right of speedy trial.”).
Finding precious little conduct consistent with assertion of the right to speedy trial
nor any objective prejudice resulting from delay, the undersigned cannot rationally
find that defense counsel could have successfully established a violation of
defendant’s right to speedy trial. Counsel does not render ineffective assistance for
failing to argue a meritless claim. See Shere v. Secy, Fla. Dep’t of Corr., 537 F.3d
1304, 1311 (11th Cir. 2008) (agreeing that “appellate counsel is not ineffective for
failing to raise a meritless issue on appeal”); Ladd v. Jones, 864 F.2d 108, 110 (11th
Cir. 1989) (“[S]ince these claims were meritless, it was clearly not ineffective for
counsel not to pursue them.”). The undersigned cannot find that defendant’s counsel
was ineffective for failing to allege a meritless claim of violation of speedy trial
rights. See Strickland, 466 U.S. at 687 (conditioning successful ineffective assistance
of counsel claim on showing that counsel’s performance was deficient). For these
reasons, defendant fails to establish any basis upon which relief can be granted.
        Accordingly, it is respectfully RECOMMENDED:
        The motion to vacate, set aside, or correct sentence pursuant to 28 U.S.C. §
2255 (doc. 1718) be DENIED.
        At Pensacola, Florida, this 13th day of June, 2011.



                                 /s/   Charles J. Kahn, Jr.
                                 CHARLES J. KAHN, JR.
                                 UNITED STATES MAGISTRATE JUDGE




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